                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

SHELBIE DAWN SCHWEITZER
339 Fletcher Avenue, Apartment 10
Lincoln, Nebraska 68521

               Plaintiff,

v.                                                  Case No:

PREFERRED FAMILY
HEALTHCARE, INC.
Serve Registered Agent:                             JURY TRIAL DEMANDED
Michael T. Schwend
900 East LaHarpe
Kirksville, Missouri 63501

and

SPRINGFIELD PARTNERS, LLC
Serve Registered Agent:
Joseph D. Sheppard, III
2805 South Ingram Mill Road
Springfield, Missouri 65804

               Defendants.

                                        COMPLAINT

       Plaintiff Shelbie Dawn Schweitzer, by and through her attorneys of record, and for her

Petition against Defendants Preferred Family Healthcare, Inc. and Springfield Partners, LLC,

states and alleges as follows:

                                     TYPE OF ACTION

1.     This is an action for compensatory and punitive damages arising under Title VII of the

       Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., as amended by the Pregnancy

       Discrimination Act of 1978 (collectively, "Title VII"), the Americans with Disabilities




         Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 1 of 10
     Act ("ADA"), 42 U.S.C. § 12101 et seq., and other federal laws and regulations

     prohibiting employment discrimination on the basis of sex and disability.

2.   Plaintiff, while employed by Defendants, was subjected to unlawful discrimination based

     on her gender.

3.   Plaintiff, while employed by Defendants, was subjected to unlawful discrimination based

     on her disability.

4.   Defendants failed to accommodate Plaintiff's disability.

5.   Plaintiff, while employed by Defendants, was subjected to unlawful retaliation because

     she requested a reasonable accommodation for her disability.

                                            PARTIES

6.   Plaintiff is a female residing in Lincoln, Nebraska.

7.   Upon information and belief, Defendant Preferred Family Healthcare, Inc. ("PFH") is a

     Missouri corporation doing business in Greene County, Missouri, and is an employer

     within the meaning of Title VII and the ADA.

8.   Springfield Partners, LLC ("Springfield Partners") is a Missouri corporation doing

     business in the state of Missouri, and is an employer within the meaning of Title VII and

     the ADA.

9.   At all times mentioned herein, before and after, the perpetrators described in this Petition

     were agents, servants, and employees of Defendants and were at all such times acting

     within the scope and course of their agency and employment, or were acting as a "proxy"

     or "alter-ego," and/or their actions were expressly authorized by Defendants and/or their

     actions were ratified by Defendants, thus making Defendants liable for said actions under

     the doctrine of respondeat superior.



                                               2

       Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 2 of 10
                                JURISDICTION AND VENUE

10.   This Court has jurisdiction of this employment discrimination claim, and venue properly

      lies in this judicial district pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 2000e-5(f)(3).

      Plaintiff seeks damages in an amount in excess of seventy-five thousand dollars.

                   EXHAUSTION OF ADMINISTRATIVE REMEDIES

11.   On or about November 17, 2017, Plaintiff timely filed her Charge of Discrimination with

      the Equal Employment Opportunity Commission ("EEOC"). A copy is attached hereto

      and incorporated herein as Exhibit "A."

12.   Plaintiff was issued a Notice of Right to Sue on or about April 8, 2019 from the EEOC. A

      copy of Plaintiff's Right to Sue is attached hereto and incorporated herein as Exhibit "B."

13.   Plaintiff filed this action within ninety (90) days of the receipt of the Right to Sue letter.

      Therefore, Plaintiff's lawsuit is timely.

14.   Plaintiff has properly exhausted all administrative remedies.

                                 GENERAL ALLEGATIONS

15.   Plaintiff is a female who was pregnant at the time of her termination by Defendants.

16.   Plaintiff was hired by Defendants in or about October 2016 to be a Foster Care Case

      Manager.

17.   At the time that Defendants hired her, Plaintiff was living in Nebraska.

18.   Plaintiff and her family moved to Missouri on or about November 5, 2016 to begin her

      new position with Defendants.

19.   On or about November 7, 2016, Plaintiff began her employment as a Foster Care Case

      Manager based at Defendants' 1111 South Glenstone Avenue, Springfield, Greene

      County, Missouri office.



                                                  3

        Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 3 of 10
20.   As a Foster Care Case Manager, Plaintiff was frequently out of the office for meetings at

      court and meetings with families.

21.   Other Foster Care Case Managers were also frequently out of the office for court

      meetings and family meetings.

22.   Defendants' Foster Care Case Managers frequently worked from home.

23.   Plaintiff discovered that she was pregnant shortly after beginning her employment with

      Defendants.

24.   During pregnancy, Plaintiff suffered from Hyperemesis Gravidarum ("hyperemesis"), a

      condition that caused Plaintiff to experience severe nausea, dehydration, weight loss,

      malnutrition, and electrolyte disturbance.

25.   As a result of the hyperemesis, Plaintiff was vomiting over twenty times per day and her

      organs were beginning to shut down.

26.   On or about December 30, 2016, Plaintiff visited the emergency room at Cox Medical

      Center South for her hyperemesis symptoms.

27.   Plaintiff received medication to assist with her hyperemesis symptoms, but the

      medication did not resolve Plaintiff's hyperemesis.

28.   The next workday, on or about January 3, 2017, Plaintiff informed her supervisor,

      Rebecca Allee, that she had been in the emergency room due to vomiting and being sick.

29.   Ms. Allee told Plaintiff to take her laptop and work from home.

30.   In or about early January 2017, Plaintiff told Ms. Allee that her physician had advised her

      to remain off work, but that she planned to work from home instead.

31.   Ms. Allee continued to allow Plaintiff to work from home.




                                               4

       Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 4 of 10
32.   Plaintiff did not disclose her pregnancy to Ms. Allee or to any of Defendants' employees

      at this time.

33.   On or about January 5, 2017, Plaintiff attended a meeting with Ms. Allee at the office to

      discuss Plaintiff's work performance.

34.   Ms. Allee gave Plaintiff a positive review.

35.   On January 9, 2017, Plaintiff's physician, Dr. P. Michael Kidder, issued a back-dated

      doctor's note advising Plaintiff to remain off work from January 1, 2017 to January 14,

      2017.

36.   "Primrose OB/GYN" was plainly printed at the top of Plaintiff's doctor's note.

37.   Plaintiff presented the doctor's note to the person at the front desk of her office and her

      physician's office submitted the note to Defendants via facsimile.

38.   Plaintiff decided to work from home instead of remaining off work as her doctor had

      advised because she was a new employee.

39.   Plaintiff continued to regularly attend meetings in the office and meetings with the

      families that she served.

40.   None of Plaintiff's co-workers or supervisors showed any disapproval to Plaintiff because

      she was working from home.

41.   Plaintiff was able to fully perform her regular job duties while working from home.

42.   Primrose OB/GYN issued Plaintiff another doctor's note on January 16, 2017 advising

      her to remain off work on January 16, 2017.

43.   Plaintiff's physician's office submitted the note to Defendants via facsimile.

44.   Primrose OB/GYN issued a third doctor's note on January 17, 2017 advising Plaintiff to

      remain off work from January 17, 2017 through January 20, 2017.



                                                5

        Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 5 of 10
45.   Plaintiff presented the third doctor's note to the front desk at her office and her

      physician's office submitted the note to Defendants via facsimile.

46.   Plaintiff continued to work from home, attend meetings, and successfully perform all of

      her regular job duties.

47.   Plaintiff's co-workers and supervisors continued to show no disapproval to Plaintiff for

      her need to work from home.

48.   On or about January 23, 2017, Plaintiff was hospitalized due to hyperemesis.

49.   Plaintiff called Ms. Allee from the hospital on January 23, 2017 and informed her that

      she was in the hospital and did not yet have a doctor's note.

50.   Ms. Allee asked Plaintiff if she was pregnant.

51.   Plaintiff admitted to Ms. Allee that she was pregnant.

52.   On or about January 24, 2017, Ms. Allee called Plaintiff while she was still in the

      hospital and informed Plaintiff that Defendants could not hold her position anymore.

53.   Ms. Allee told Plaintiff that if she turned in a doctor's note for her hospitalization, she

      would be eligible for rehire once she delivered the baby.

54.   Plaintiff remained in the hospital until on or about January 26, 2017 or January 27, 2017.

55.   On or about February 6, 2017, Courtney Meek, an employee of Defendants, sent Plaintiff

      a message via Facebook asking her to return all of her work equipment.

56.   Plaintiff had already signed up for Defendants' health insurance and disability benefits

      before termination.

57.   Upon information and belief, Plaintiff's health insurance and disability benefits would

      have become active shortly after she was terminated by Defendants, on or about February

      7, 2017.



                                                 6

       Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 6 of 10
                                       COUNT I
                   TITLE VII – DISPARATE TREATMENT BASED ON SEX

58.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

59.    Plaintiff is a female who was pregnant during her employment with Defendants.

60.    At all times pertinent hereto, Plaintiff was performing her job adequately and meeting her

       employers' expectations.

61.    Plaintiff was terminated by Defendants and her pregnancy was a motivating factor for

       such termination.

62.    Upon information and belief, Plaintiff was replaced by another individual who was not

       pregnant.

       WHEREFORE, Plaintiff prays for judgment against Defendants for such damages as are

fair and reasonable, including lost wages and other benefits of employment, compensatory

damages, punitive damages, pre- and post-judgment interest, future lost wages and benefits of

employment, attorney's fees and costs, and for such other and further relief as the Court deems

just and proper.

                                       COUNT II
                           ADA - FAILURE TO ACCOMMODATE

63.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

64.    Plaintiff, while employed by Defendants, suffered from the disability of hyperemesis

       Gravidarum, a physical impairment that substantially limited one or more major life

       activities, including but not limited to eating, standing, walking, caring for herself, lifting,

       traveling, and socializing.

65.    At all times pertinent hereto, Plaintiff was performing her job adequately and meeting her

       employers' expectations.



                                                  7

         Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 7 of 10
66.    Plaintiff informed Defendants that she had been hospitalized for vomiting and being sick.

67.    Plaintiff requested the reasonable accommodation of working from home as a result of

       her disability.

68.    The accommodation of working from home would have enabled Plaintiff to work more

       productively, to the benefit of Defendants, and providing such time would not have posed

       an undue hardship on Defendants.

69.    Defendants knew that Plaintiff was pregnant and chose not to allow Plaintiff to continue

       working from home.

70.    Defendants failed to provide a reasonable accommodation to Plaintiff.

71.    Accordingly, Defendants harmed Plaintiff by failing to provide her with a reasonable

       accommodation in violation of the Americans with Disabilities Act, 42 U.S.C. § 12101 et

       seq.

       WHEREFORE, Plaintiff prays for judgment against Defendants for such damages as are

fair and reasonable, including lost wages and other benefits of employment, compensatory

damages, punitive damages, pre- and post-judgment interest, future lost wages and benefits of

employment, attorney's fees and costs, and for such other and further relief as the Court deems

just and proper.

                               COUNT III
      ADA - DISPARATE TREATMENT BASED ON DISABILITY OR PERCEIVED
                              DISABILITY

72.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

73.    Plaintiff, while employed by Defendants, suffered from the disability of hyperemesis

       Gravidarum, a physical impairment that substantially limited one or more major life




                                                  8

         Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 8 of 10
       activities, including but not limited to eating, standing, walking, caring for herself, lifting,

       traveling, and socializing.

74.    At all times pertinent hereto, Plaintiff was performing her job adequately and meeting her

       employers' expectations.

75.    Plaintiff was terminated by Defendants and her disability or perceived disability was a

       motivating factor for such termination.

76.    Upon information and belief, Plaintiff was replaced by another individual who was not

       disabled or perceived to be disabled.

       WHEREFORE, Plaintiff prays for judgment against Defendants for such damages as are

fair and reasonable, including lost wages and other benefits of employment, compensatory

damages, punitive damages, pre- and post-judgment interest, future lost wages and benefits of

employment, attorney's fees and costs, and for such other and further relief as the Court deems

just and proper.

                                          COUNT V
                                     ADA – RETALIATION

77.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

78.    Plaintiff engaged in the protected activity of requesting a reasonable accommodation for

       her disability.

79.    After Plaintiff requested a reasonable accommodation for her disability, Defendants

       unlawfully retaliated against Plaintiff by terminating her employment.

80.    Plaintiff's request for a reasonable accommodation was a motivating factor in Defendants'

       decision to terminate her employment.

       WHEREFORE, Plaintiff prays for judgment against Defendants for such damages as are

fair and reasonable, including lost wages and other benefits of employment, compensatory

                                                  9

         Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 9 of 10
damages, punitive damages, pre- and post-judgment interest, future lost wages and benefits of

employment, attorney's fees and costs, and for such other and further relief as the Court deems

just and proper.

                                   JURY TRIAL DEMAND

       PLAINTIFF REQUESTS A TRIAL BY JURY AS TO ALL ISSUES SO TRIABLE.



                                                          Burkhart Law, LLC


                                                          /s/ Kyle E. Murphy
                                                          Brandon D. Burkhart – MO Bar 65815
                                                          Bailey M. Privette – MO Bar 69220
                                                          Kyle E. Murphy – MO Bar 69739
                                                          4233 Roanoke Road, Suite 100
                                                          Kansas City, Missouri 64111
                                                          Phone: (816) 945-6467
                                                          Facsimile: (816) 945-6314
                                                          brandon@burkhartlegal.com
                                                          bailey@burkhartlegal.com
                                                          kyle@burkhartlegal.com
                                                          ATTORNEYS FOR PLAINTIFF




                                               10

        Case 6:19-cv-03240-MDH Document 1 Filed 07/05/19 Page 10 of 10
